Case 1:04-cv-01018-.]DT-STA Document 30 Filed 04/22/05 Page 1 of 2 page|D 25

IN THE UNITED STATES DISTRICT CoURT /9/.:‘37[5> §/
FoR THE wESTERN DISTRICT OF TENNESSEE 05 }:
EASTERN DIVISION 4/¢>,p \ 0
',g. x 93 51
JESSE HARRlS, #116733, ) CY»O“',,/~ ’9 5», 5
) ¢F’.>"> 31er 00 0
Plainciff, ) b ‘ /;1/`-<5.` @J’?Q@
) ' °;‘P'C/E£O;
v. ) No. 04-1018 T/An L»/1/
)
FRED RANEY, et al., )
)
Defendants. )

 

ORDER DENYING MOTION FOR EXTENSION OF TIME

 

Before the Court is Defendant Andy I-Iaynes’ Motion for Extension of Time to Fi]e
Answer flled on October 26, 2004. On November 8, 2004 the Court granted another Motion for
Extension of Time to File Answer by Defendant Andy Haynes, and Defendant Andy Haynes
submitted his Answer to Plaintiff’s Complajnt on December 13, 2004. As such, the October 26,
2004 Motion for EXtension of Time is DENIED as moot.

//'
<S /¢,M @J

S. THOMAS ANDERSON
UNITED STATES MAGISTRATE JUDGE

Date: @c;?al rim

IT IS SO ORDERED.

This document entered on the docket sheet in com nance

wlth Rule 58 and.'or,?S (e) FRCP on _____&5_____.

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 30 in
case 1:04-CV-010]8 Was distributed by faX, mail, or direct printing on
Apri125, 2005 to the parties listcd.

ESSEE

 

Arthur CroWnover

OFFICE OF THE ATTORNEY GENERAL

P.O. Box 20207
Nashville, TN 37202--020

J esse Harris

Riverbend MaXimum Security Instution

1 16733
7475 Cockrill Bend Ind. Blvd.
Nashville, TN 37209--104

Fred Raney
90 Keystone Dr.
Tiptonville7 TN 38079

Andy Haynes

Northwest Correctional Complex
960 State Route 212

Tiptonville7 TN 38079

Honorable J ames Todd
US DISTRICT COURT

